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                                                                  Entered on Docket
                                                                 5May 31, 2018
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                                                                13   Attorneys for Secured Creditor
                                                                     Wilmington Savings Fund Society, FSB
                                                                14   As Trustee for Stanwich Mortgage Loan Trust B

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                                                                16                          UNITED STATES BANKRUPTCY COURT
                                                                17                                    DISTRICT OF NEVADA
                                                                18    IN RE:                                                 Case No. BK-S-13-20220-gs

                                                                19    HERNI THOMPSON,                                        Chapter 11

                                                                20                         Debtor.                           ORDER APPROVING
                                                                                                                             STIPULATION BY DEBTOR AND
                                                                21                                                           WILMINGTON SAVINGS FUND
                                                                                                                             SOCIETY, FSB AS TRUSTEE FOR
                                                                22                                                           STANWICH MORTGAGE LOAN
                                                                                                                             TRUST B REGARDING
                                                                23                                                           TREATMENT OF CLAIM
                                                                                                                             PURSUANT TO CHAPTER 11 PLAN
                                                                24                                                           OF REORGANIZATION
                                                                25             On November 20, 2017, Debtor and Debtor-in-Possession HERNI THOMPSON
                                                                26   (“Debtor”), by and through her attorney, Corey B. Beck, Esq., and Secured Creditor Wilmington
                                                                27   Savings Fund Society, FSB as Trustee for Stanwich Mortgage Loan Trust B (“Wilmington
                                                                28   Savings” or “Creditor”), by and through its counsel, Michael R. Brooks, Esq. and Scott D.

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                                                                 1   Fleming, Esq., of Kolesar & Leatham, entered into a certain Stipulation by Debtor and

                                                                 2   Wilmington Savings Fund Society, FSB as Trustee for Stanwich Mortgage Loan Trust B

                                                                 3   Regarding Treatment of Claim Pursuant to Chapter 11 Plan of Reorganization [ECF No. 309]

                                                                 4   (the “Stipulation”), which includes the following provisions:

                                                                 5             1.        As of October 1, 2017, Creditor shall have a secured claim in the amount of

                                                                 6   $177,538.73 (the “Secured Claim”) to be amortized over 30 years at the fixed interest rate of

                                                                 7   6.375% per annum.

                                                                 8             2.        Debtor shall tender regular monthly payments of principal and interest in the

                                                                 9   amount of $1,107.61 on the first of each month to Creditor for the Secured Claim commencing

                                                                10   December 1, 2017 and continuing until, November 1, 2047, when all such outstanding amounts

                                                                11   under the Secured Claim are paid in full.
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                                                                12             3.        Debtor shall be free to sell the Property at any time upon payment in full of the
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                                                                13   Secured Claim then outstanding.

                                                                14             4.        Debtor shall maintain real property taxes and real property hazard insurance paid

                                                                15   current for the Subject Property, and provide proof of said insurance to Creditor on a timely

                                                                16   basis. In the event Debtor fails to make the above tax or insurance payment, Debtor shall tender

                                                                17   all necessary payments for any and all real property taxes and/or real property insurance

                                                                18   advances made or to be made by Creditor. Such payment by Creditor shall not serve as a waiver

                                                                19   of any default under the terms of this Stipulation.

                                                                20             5.        In the event of any future default on any of the provisions of this Stipulation,

                                                                21   Creditor shall provide written notice, via first class mail, to debtor Henri Thompson, at 2657

                                                                22   Windmill Parkway, No. 639, Henderson, Nevada 89074, and to Debtor’s attorneys of record,

                                                                23   provided the Debtor’s bankruptcy remains active, at Corey B. Beck, Esq., The Law Office of

                                                                24   Corey B. Beck, P.C., 425 South Sixth Street, Las Vegas, Nevada 89101, indicating the nature of

                                                                25   the default. If Debtor fails to cure the default with certified funds after passage of fifteen (15)

                                                                26   calendar days from the date said written notice is placed in the mail, then Creditor, may proceed

                                                                27   to foreclose its security interest in the Subject Property under the terms of the Note and Deed of

                                                                28   Trust and pursuant to applicable state law and thereafter commence any action necessary to

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                                                                 1   obtain complete possession of the Subject Property. In the event that the Debtor’s case is open at

                                                                 2   the time of default, such relief shall be effective upon filing of a declaration and ex parte order

                                                                 3   terminating the automatic stay. This provision shall only be effective prior to the closing of the

                                                                 4   bankruptcy case, either administratively or finally. Should the Debtor default under the terms of

                                                                 5   this Stipulation and/or Chapter 11 Plan after the case is closed, Creditor may proceed to foreclose

                                                                 6   its security interest under the terms of the Note, Deed of Trust and applicable state law without

                                                                 7   any further action.

                                                                 8             6.        The acceptance by Creditor of a late or partial payment shall not act as a waiver of

                                                                 9   Creditor’s right to proceed hereunder.

                                                                10             7.        Except as otherwise expressly provided herein, all remaining terms of the Note

                                                                11   and Deed of Trust shall govern the treatment of Creditor’s Secured Claim.
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                                                                12             8.        Any notice of default that Creditor provides Debtor and/or Debtor’s attorneys
                            Las Vegas, Nevada 89145




                                                                13   pursuant to this Stipulation shall not be construed as a communication under the Fair Debt

                                                                14   Collection Practices Act, 15 U.S.C. § 1692, et seq.

                                                                15             9.        At the request and discretion of the Creditor, Debtor shall execute such

                                                                16   documents and instruments as are necessary to reflect the Debtors as the borrower of the Secured

                                                                17   Claim, and to modify the terms of the obligation to conform to the provisions of this Stipulation.

                                                                18             10.       In the event the Debtor sells or refinances the Subject Property prior to receiving

                                                                19   their Chapter 11 discharge, Creditor shall be entitled to exercise its rights pursuant to 11 U.S.C. §

                                                                20   363(f) and/or 11 U.S.C. § 363(k) and shall be permitted to receive proceeds from the sale of the

                                                                21   Subject Property in an amount not less than the outstanding balance owing under the original

                                                                22   terms of the Note.

                                                                23             11.       The terms of this Stipulation shall constitute the complete and entire treatment of

                                                                24   the Secured Claim and may not be modified, altered, or changed by the Plan, any confirmation

                                                                25   order thereon, any subsequently filed Amended Chapter 11 Plan of Reorganization and

                                                                26   confirmation order thereon or any modification thereof without the express written consent of the

                                                                27   Creditor. The above terms of this Stipulation shall be deemed incorporated into the Plan and/or

                                                                28   any subsequently filed Amended Chapter 11 Plan of Reorganization. The Debtor shall file an

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                                                                 1   Amended Chapter 11 plan and/or confirmation order that incorporates the terms of this

                                                                 2   Stipulation and attach a copy of this Stipulation as an exhibit to the amended plan and/or

                                                                 3   confirmation order. The Debtor’s failure to comply with this provision shall constitute a default

                                                                 4   under the terms of the Stipulation. The terms of this Stipulation shall control in the event of a

                                                                 5   conflict between this Stipulation and Debtor’s Chapter 11 Plan, confirmation order or any

                                                                 6   amendments or modifications thereof, or any prior stipulations between Debtor and Creditor.

                                                                 7             12.        In the event Debtor’s case is dismissed or converted to any other chapter under

                                                                 8   Title 11 of the United States Bankruptcy Code, Creditor shall retain its lien in the full amount

                                                                 9   due under the Note, to be paid at the rate and terms provided for under the Note and Deed of

                                                                10   Trust, and the automatic stay shall be terminated without further notice, order or proceeding of

                                                                11   the Court.
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                                                                12             13.        In the event the Debtor asserts Creditor has failed to properly update its system to
                            Las Vegas, Nevada 89145




                                                                13   comply with the terms of this Stipulation within a reasonable period of time after an order is

                                                                14   entered confirming the Debtor’s Chapter 11 Plan of Reorganization, which shall be no less than

                                                                15   ninety (90) days, the Debtor shall be required to provide written notice of the alleged lack of

                                                                16   compliance to Creditor and Creditor’s counsel of record, Michael B. Brooks, Esq., Kolesar &

                                                                17   Leatham, 400 South Rampart Boulevard, Suite 400, Las Vegas, Nevada 89145, and Barrett

                                                                18   Daffin Frappier Treder & Weiss, LLP, 20955 Pathfinder Road, Suite 300, Diamond Bar,

                                                                19   California          91745,    as   well    as    electronically   at    mbrooks@klnevada.com         and

                                                                20   nvecf@bdfgroup.com, indicating the nature of the alleged lack of compliance. If Creditor fails

                                                                21   to either remedy the alleged lack of compliance and/or provide an explanation refuting the

                                                                22   Debtor’s allegation after the passage of ninety (90) days from the date Creditor receives said

                                                                23   written notice (the “Meet and Confer Period”), Debtor may proceed with filing the appropriate

                                                                24   motion in bankruptcy court seeking Creditor’s compliance. However, provided Creditor has in

                                                                25   good faith sought to remedy Debtor’s grievance during the Meet and Confer Period, Debtor shall

                                                                26   not request nor be entitled to an award of their attorneys’ fees and costs nor sanctions as a result

                                                                27   of filing said motion.

                                                                28   / / /

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                                                                 1             14.       Except as expressly provided herein, the Debtor waives any and all claims, causes

                                                                 2   of action, whether known or unknown, he currently has against Creditor, and its respective

                                                                 3   agents, parents, affiliates, subsidiaries, attorneys, predecessors, current and subsequent holders of

                                                                 4   the Note and Deed of Trust (collectively the “Loan”), successors and assigns in relation to the

                                                                 5   Loan referenced herein and any and all agreements which exist between them regarding or

                                                                 6   relating to the Loan prior to the date of this Stipulation. This waiver includes Debtor’s right to

                                                                 7   object to the Secured Claim. The Debtor also releases Creditor and its respective agents, parents,

                                                                 8   affiliates, subsidiaries, attorneys, predecessors, current and subsequent holders of the Loan,

                                                                 9   successors and assigns from any liability in relation to the Loan prior to the date of this

                                                                10   Stipulation.

                                                                11             15.       In exchange for the foregoing, this Stipulation shall constitute a ballot voting in
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                                                                12   favor of the Debtor’s Chapter 11 Plan of Reorganization for the Secured Claim.
                            Las Vegas, Nevada 89145




                                                                13             The Court having reviewed the Stipulation, and for good cause appearing:

                                                                14             IT IS ORDERED, ADJUDGED AND DECREED that the Stipulation is approved in its

                                                                15   entirety and shall constitute an Order of this Court.

                                                                16   Submitted by:

                                                                17   KOLESAR & LEATHAM

                                                                18
                                                                     /s/ Scott D. Fleming, Esq.
                                                                19   SCOTT D. FLEMING, ESQ.
                                                                     Nevada Bar No. 005638
                                                                20   400 S. Rampart Blvd., Suite 400
                                                                     Las Vegas, NV 89145
                                                                21   Attorneys for Secured Creditor
                                                                     Wilmington Savings Fund Society, FSB,
                                                                22   as Trustee of Stanwich Mortgage Loan Trust B

                                                                23   Approved as to form and content

                                                                24   THE LAW OFFICE OF COREY B. BECK, P.C.

                                                                25
                                                                     /s/ Corey B. Beck, Esq.
                                                                26   COREY B. BECK, ESQ.
                                                                     Nevada Bar No. 005870
                                                                27   425 South Sixth Street
                                                                     Las Vegas, NV 89101
                                                                28   Attorney for Debtor
                                                                                                                       # # #
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